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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

SAIFULLAH KHAN                                       :          CIVIL ACTION NO.
     Plaintiff,                                      :          3:19-cv-01966-KAD
                                                     :
V.                                                   :
                                                     :
YALE UNIVERSITY, ET AL.,                             :
     Defendants.                                     :          JUNE 11, 2020

                     MOTION FOR EXTENSION OF TIME
         TO FILE REPLY IN FURTHER SUPPORT OF MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 7(b), Defendant Jane Doe

files this Motion requesting that the Court extend her deadline to file a Reply Memorandum of

Law in Further Support of Her Motion to Dismiss from June 16, 2020, to June 23, 2020.

       Jane has been working on her Reply, but the additional time is necessary to allow Jane to

fully respond to Plaintiff’s arguments in his Opposition to Jane’s Motion, particularly in light of

the fact that counsel for Jane Doe has competing deadlines in another case before Your Honor.

The Yale Defendants consent to this Motion and Plaintiff does not object to this Motion.

       This is the first request for an extension of time of this deadline. The requested extension

will not affect any other deadlines established by the Court.

                                                     DEFENDANT JANE DOE,

                                                By: /s/ Brendan N. Gooley
                                                    James M. Sconzo (ct04571)
                                                    Brendan N. Gooley (ct30584)
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                                                     Her Attorneys
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                                  CERTIFICATION OF SERVICE

            This is to certify that on this 11th day of June 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system.




                                                    /s/Brendan N. Gooley
                                                Brendan N. Gooley



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